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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF MOTION AND MOTION
FOR APPROVAL OF PROCEDURES FOR AUCTION OF DEBTOR’S REAL PROPERTY; MEMORANDUM OF POINTS
AND AUTHORITIES, DECLARATIONS OF MARK CIANCIULLI AND ALPHAMORLAI L. KEBEH will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 December 23, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) December 23, 2022 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                          Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 December 23, 2022                         Patricia Morris                                       /s/ Patricia Morris
 Date                                      Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

    •    David M Browne dmbrownelaw@gmail.com, dmbeaster@aol.com
    •    Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
    •    Steven P Chang heidi@spclawoffice.com,
         schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.
         com;changsr75251@notify.bestcase.com
    •    Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
    •    Heidi M Cheng heidi@slclawoffice.com,
         assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com
    •    Susan Titus Collins scollins@counsel.lacounty.gov
    •    Nicholas S Couchot ncouchot@buchalter.com, docket@buchalter.com;marias@buchalter.com
    •    Jeffrey W Dulberg jdulberg@pszjlaw.com
    •    Oscar Estrada oestrada@ttc.lacounty.gov
    •    Danielle R Gabai dgabai@danninggill.com, dgabai@ecf.courtdrive.com
    •    Runmin Gao ivy.gao@aalrr.com, alicia.mcmaster@aalrr.com
    •    Richard Girgado rgirgado@counsel.lacounty.gov
    •    Brian T Harvey bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com
    •    M. Jonathan Hayes jhayes@rhmfirm.com,
         roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;
         rebeca@rhmfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
    •    Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
    •    Alphamorlai Lamine Kebeh akebeh@danninggill.com
    •    Peter A Kim peter@pkimlaw.com, peterandrewkim@yahoo.com
    •    Christopher J Langley chris@slclawoffice.com,
         omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
    •    Paul J Leeds Pleeds@fsl.law, ssanchez@fsl.law
    •    Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
    •    Damian J. Martinez damian.martinez@aalrr.com, julissa.ruiz@aalrr.com
    •    Eric A Mitnick MitnickLaw@gmail.com, mitnicklaw@gmail.com
    •    Giovanni Orantes go@gobklaw.com, gorantes@orantes-
         law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com
    •    Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
    •    Matthew D. Resnik Matt@rhmfirm.com,
         roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;rebeca@rhmfirm.co
         m;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
    •    Peter J Ryan ryan@floresryan.com, schneider@floresryan.com
    •    Allan D Sarver ADS@asarverlaw.com
    •    Zev Shechtman zshechtman@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
    •    David Samuel Shevitz david@shevitzlawfirm.com,
         shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
    •    John N Tedford jtedford@DanningGill.com, danninggill@gmail.com;jtedford@ecf.courtdrive.com
    •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •    Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




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2. SERVED BY U.S. MAIL

JINZHENG GROUP (USA) LLC                           The Honorable Ernest M. Robles                      Breezeblock Capital, LLC
1414 S Azusa Ave, Suite B-22                       U.S. Bankruptcy Court                               c/o Pacific Mortgage Exchange Inc.
West Covina, CA 91791                              255 E. Temple Street, Suite 1560                    PO Box 2836
                                                   Los Angeles, CA 90012                               Big Bear Lake, CA 92315

Helen P. Ho, Trustee of the Helen P. Ho            Pacific Mortgage Exchange                           Best Alliance Foreclosure Services
Revocable Trust as to an Undivided 75 %            7341 Hwy 11, Ste 1-A                                16133 Ventura Blvd., Ste 700
Interest and Stephen Yen as to an                  Palm Desert, CA 92260                               Encino, CA 91436
Undivided 25% interest
PO Box 3473
Fremont, CA 94539




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